     Case: 1:21-cv-02674 Document #: 16 Filed: 07/28/21 Page 1 of 1 PageID #:483

                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                 Eastern Division

National Association of Professional Allstate Agents,
Inc., et al.
                                                          Plaintiff,
v.                                                                       Case No.:
                                                                         1:21−cv−02674
                                                                         Honorable John F.
                                                                         Kness
Allstate Insurance Company
                                                          Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, July 28, 2021:


        MINUTE entry before the Honorable John F. Kness: Plaintiff has filed a "Notice
of Voluntary Dismissal" [15] explaining that the case has been voluntarily dismissed.
Because the notice of dismissal was filed before the opposing party served either an
answer or a motion for summary judgment, the case is dismissed without prejudice in
accordance with the terms of the stipulation and by operation of Rule 41(a)(1)(A)(i) and
(B) of the Federal Rules of Civil Procedure. See Nelson v. Napolitano, 657 F.3d 586, 587
(7th Cir. 2011) (Rule 41(a)(1)(A) notice of dismissal "is self−executing and effective
without further action from the court"). Each party is to bear its own fees and costs. Civil
case terminated. Mailed notice(ef, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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criminal dockets of this District. If a minute order or other document is enclosed, please
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